    Case 1:23-cv-03825-RPK-MMH               Document 32        Filed 03/11/24      Page 1 of 2 PageID #:
                                                   178




                                            THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX
                                           LAW DEPARTMENT                                          MICHAEL VIVIANO
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                                                                            March 11, 2024

      VIA ECF
      Honorable Rachel P. Kovner
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza E.
      Brooklyn, NY 11201

                      Re: Malic McCain v. Wailok Wong, et al.
                         23-cv-03825 RPK-MMH

      Your Honor:
                     I am a Senior Counsel in the Office of Hon. Sylvia O. Hinds-Radix, Corporation
      Counsel of the City of York, and the attorney for Defendants Police Officer Wailok Wong, Police
      Officer Jason Farrell, and Police Officer Jasmine Osorio 1 in the above-referenced matter.
      Defendants write on behalf of the parties to advise the Court that an agreement in principle to settle
      this matter has been reached. The parties are in the process of finalizing their agreement and will
      submit a fully executed Stipulation and Order of Dismissal for the Court’s Endorsement by April
      11, 2024.

                     In light of the parties’ agreement, the parties respectfully request that the Court
      adjourn sine die all currently scheduled deadlines.

                      The parties thank the Court for its time and attention to this matter.

                                                                            Respectfully Submitted,
                                                                            __Michael Viviano_
                                                                            Michael Viviano


      1
          The City of New York was previously dismissed as a Defendant from this matter.
Case 1:23-cv-03825-RPK-MMH     Document 32   Filed 03/11/24   Page 2 of 2 PageID #:
                                     179



                                                       Attorney for Defendants
                                                       Wong, Farrel, and Osorio




 cc: VIA ECF
     All attorneys of record
